Case 1:24-cv-00490-MN   Document 19    Filed 06/20/24   Page 1 of 22 PageID #: 755




                  IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF DELAWARE

QUALCOMM INCORPORATION, a
Delaware corporation, QUALCOMM
TECHNOLOGIES, INC., a Delaware
corporation,                             C.A. No. 24-490-MN


                        Plaintiffs,      REDACTED - PUBLIC VERSION
                                         (Filed June 20, 2024)
      v.


ARM HOLDINGS PLC., f/k/a ARM LTD., a
U.K. corporation,


                        Defendant.



 DEFENDANT’S OPENING BRIEF IN SUPPORT OF ITS MOTION TO DISMISS THE
           COMPLAINT PURSUANT TO FED. R. CIV. P. 12(B)(6)
Case 1:24-cv-00490-MN                        Document 19               Filed 06/20/24               Page 2 of 22 PageID #: 756




                                                    TABLE OF CONTENTS


I.      INTRODUCTION AND SUMMARY OF THE ARGUMENT ............................................. 1

II. NATURE AND STAGE OF THE PROCEEDINGS AND FACTUAL Background ............ 3

     A.    Qualcomm Failed To Assert Its Claims At The Time They Arose, Well Prior To The
     Deadline For Amendment In The Original Action. .................................................................... 3

     B.    The Court Rejected Qualcomm’s Belated Attempt To Add Its Section                                     Claims A
     Year Later In The Original Action.............................................................................................. 6

III. Legal Standard ......................................................................................................................... 7

IV. ARGUMENT .......................................................................................................................... 8

     A.     Courts Routinely Dismiss Compulsory Counterclaims A Party Failed To Bring In An
     Earlier-Filed Action. ................................................................................................................... 8

     B.    Qualcomm’s Claims In This New Action Were Compulsory Counterclaims In The
     Original Action Between The Parties. ........................................................................................ 9

     C.    Qualcomm Confirmed Its Claims Here Were Compulsory Counterclaims By Trying To
     Bring Them In The Original Action. ........................................................................................ 11

     D.    Qualcomm’s Failure To Assert Compulsory Counterclaims In The Original Action Is
     Not Excused By The Denial Of Leave To Amend. .................................................................. 12

V. Conclusion ............................................................................................................................. 15




                                                                       -i-
Case 1:24-cv-00490-MN                      Document 19                Filed 06/20/24              Page 3 of 22 PageID #: 757




                                                TABLE OF AUTHORITIES
                                                                                                                                  Page(s)
Cases
Amoco Oil Co. v. McMahon,
  No. 98-cv-1625, 1999 WL 116290 (E.D. Pa. Mar. 1, 1999) ...................................................10
Arm Ltd. v. Qualcomm Inc.,
   C.A. No. 22-1146-MN (2022) ...................................................................................................1
Avante Int'l Tech., Inc. v. Hart Intercivic, Inc.,
   No. 08-cv-832 (GPM), 2009 WL 2431993 (S.D. Ill. July 31, 2009) .........................................8
Benckini v. Upper Saucon Twp.,
   C.A. No. 07-3580, 2008 WL 2050825 (E.D. Pa. May 13, 2008) ............................................13
Brooks v. Valley Day Sch.,
   C.A. No. 14-5506, 2015 WL 4770759 (E.D. Pa. Aug. 12, 2015.) ...........................................10
Crawl Space Door Sys., Inc. v. White & Williams, LLP,
   No. 23-2319, 2024 WL 1554062 (3d Cir. Apr. 10, 2024) .........................................................7
Critical-Vac Filtration Corp. v. Minuteman Int'l, Inc.,
    No. 99-CV-1115, 2000 WL 14654 (N.D.N.Y. Jan. 7, 2000), aff’d, 233 F.3d
    697 (2d Cir. 2000) ......................................................................................................................8
Fingermates, Inc. v. Nailtiques Cosm. Corp.,
   C.A. 95--3427-MLP, 1996 WL 901967 (D.N.J. Dec. 16, 1996) .............................................12
Goodman Mfg. Co. v. Carrier Corp.,
   C.A. No. 13-2014-SLR, 2014 WL 4954281 (D. Del. Sept. 23, 2014) ............................2, 7, 12
Hercules Inc. v. Dynamic Exp. Corp.,
   71 F.R.D. 101 (S.D.N.Y. 1976) ...............................................................................................11
Insignia Disposal Servs., LLC v. Hrebenar,
    C.A. No. 23-1722, 2023 WL 6520501 (E.D. Pa. Oct. 4, 2023) .................................................8
JSM at Tingley, LLC v. Ford Motor Co.,
   No. CIV.A. 11-448, 2011 WL 6934852 (D.N.J. Dec. 30, 2011) .........................................3, 13
Kim v. Sara Lee Bakery Grp., Inc.,
   412 F. Supp. 2d 929 (N.D. Ill. 2006) .......................................................................................14
Lance Int'l Ltd. v. Menominee Paper Co.,
   No. 98-cv-2229, 1998 WL 464901 (E.D. Pa. Aug. 5, 1998) ...................................................10
Lenovo (United States) Inc. v. Interdigital Tech. Corp.,
   C.A. No. 20-493-LPS, 2021 WL 1123101 (D. Del. Mar. 24, 2021) .....................................2, 9
Linton v. Whitman,
    C.A. No. 08-00548-XR, 2009 WL 2060091 (W.D. Tex. July 9, 2009) ............................13, 14
McNeil Nutritionals, LLC v. Sugar Ass’n,
  C.A. No. 05-69 GMS, 2006 WL 8454231 (D. Del. Mar. 29, 2006) ..........................................8




                                                                    -ii-
Case 1:24-cv-00490-MN                       Document 19                Filed 06/20/24              Page 4 of 22 PageID #: 758




Moose Mountain Mktg., Inc. v. Alpha Int’l, Inc.,
  C.A. No. 03-4035-WGB, 2005 WL 3588491 (D.N.J. Dec. 29, 2005) ....................................13
Morgan v. Scott,
  83 F. Supp. 3d 616 (D. Del. 2015) .............................................................................................8
Perfect Plastics Indus., Inc. v. Cars & Concepts, Inc.,
   758 F. Supp. 1080 (W.D. Pa. 1991) .........................................................................................13
Roche v. Aetna, Inc.,
   No. 1:22-cv-00607-NLH-EAP, 2023 WL 3173394 (D.N.J. May 1, 2023) ...............................8
RPV, Ltd. as Tr. for Vill. Tr. v. Netsphere, Inc.
  771 F. App'x 532 (5th Cir. 2019) .............................................................................................10
S. Cross Overseas Agencies, Inc. v. Wah Kwong Ship. Grp. Ltd.,
    181 F.3d 410 (3d Cir. 1999).......................................................................................................8
Sendi v. NCR Comten, Inc.,
   624 F. Supp. 1205 (E.D. Pa. 1986) ..........................................................................................14
Servian v. Health Data Scis. Corp.,
   C.A. No. 92-2693, 1992 WL 174705 (E.D. Pa. July 21, 1992) ...........................................8, 10
Skyline Steel, LLC v. Pilepro, LLC,
   C.A. No. 13-8171-JMF, 2015 WL 999981 (S.D.N.Y. Mar. 5, 2015)..............................2, 9, 10
Southmark Prime Plus, L.P. v. Falzone,
   776 F. Supp. 888 (D. Del. 1991) ................................................................................................1
TFII Legacy, LLC v. Lummus Corp.,
   C.A. No. 19-1309-CFC-SRF, 2019 WL 6895944 (D. Del. Dec. 18, 2019) ..............................7
Transamerica Occidental Life Ins. Co. v. Aviation Off. of Am., Inc.,
   292 F.3d 384 (3d Cir. 2002)...............................................................................................1, 8, 9
Yeransian v. Markel Corp.,
   C.A. No. 20-762-MN, 2021 WL 979604 (D. Del. Mar. 16, 2021) ......................................1, 13
Other Authorities
3 Moore’s Federal Practice - Civil § 13.10 (2024) ..........................................................................9
Fed. Prac. & Proc. Civ. § 1409 ........................................................................................................8
Fed. Prac. & Proc. Civ. § 1410 ......................................................................................................10
Fed. R. Civ. P. 12(B)(6) ...................................................................................................................8
Fed. R. Civ. P. 13 .......................................................................................................... 9, 13, 14, 15
Fed. R. Civ. P. 16(b)(4)....................................................................................................................7
Fed. R. Evid. 201 .............................................................................................................................1




                                                                     -iii-
Case 1:24-cv-00490-MN          Document 19        Filed 06/20/24      Page 5 of 22 PageID #: 759




I.     INTRODUCTION AND SUMMARY OF THE ARGUMENT

       The Court should dismiss this action with prejudice, because Qualcomm seeks to reassert

claims that it failed to timely assert as compulsory counterclaims against Arm in an earlier-filed

action in this Court. See Arm Ltd. v. Qualcomm Inc., C.A. No. 22-1146-MN (2022). Courts

routinely dismiss actions asserting claims that arise out of the same transaction or occurrence as,

or share a logical relationship with, an earlier-filed action, based on both the compulsory

counterclaim doctrine and claim preclusion. See Transamerica Occidental Life Ins. Co. v.

Aviation Off. of Am., Inc., 292 F.3d 384, 394 (3d Cir. 2002); Yeransian v. Markel Corp., C.A.

No. 20-762-MN, 2021 WL 979604, at *6 (D. Del. Mar. 16, 2021). Qualcomm’s claims in this

new action arise out of the same transaction and occurrence at issue in the original action

between Arm and Qualcomm, and share a logical relationship with that action, because they (1)

rest on one of the contracts at issue in the original action, and (2) arise from overlapping

allegations of breach as the original action.

       The pleadings in the original action confirm the logical relationship with this new action.

In the original action, Qualcomm seeks a declaratory judgment regarding its rights “under

Qualcomm’s ALA and TLA.” (No. 22-cv-1146, D.I. 19 (“Qualcomm’s Redacted Answer and

Am. Countercl.”) at ¶ 259, Declaration of Nicholas R. Fung (“Fung Decl.”), Ex. 1.) 1



1
  To the extent necessary, Defendant requests that the Court take judicial notice of the pleadings,
briefs, and orders from the original action. See Fed. R. Evid. 201; Southmark Prime Plus, L.P. v.
Falzone, 776 F. Supp. 888, 892 (D. Del. 1991) (courts may take judicial notice of court records
from another case). For the Court’s convenience, copies of the documents referenced herein from
the original action are attached as Exhibits 1-6 to the Declaration of Nicholas R. Fung. Exhibits
1-6 are also publicly available on PACER in the District of Delaware. Arm sought Qualcomm’s
agreement to use the unredacted version of Ex. 1 to Qualcomm’s Motion for Leave to Amend
Answer and Counterclaim in 22-2246-MN (D.I. 272-1) (attached as Ex. 6 to the Fung Decl.), but
did not receive Qualcomm’s agreement to do so prior to filing.



                                                 -1-
Case 1:24-cv-00490-MN         Document 19        Filed 06/20/24      Page 6 of 22 PageID #: 760




Qualcomm’s declaratory judgment claim in the original action thus involves the same ALA for

which Qualcomm seeks to assert breach in this new action. (D.I. 2 (“Compl.”) ¶ 78(a).) Courts

have consistently held that claims involving the same contract are logically related. See Lenovo

(United States) Inc. v. Interdigital Tech. Corp., C.A. No. 20-493-LPS, 2021 WL 1123101, at *8

(D. Del. Mar. 24, 2021) (breach of contract claim logically related to declaratory judgment claim

involving the same contract); Skyline Steel, LLC v. Pilepro, LLC, C.A. No. 13-8171-JMF, 2015

WL 999981, at *5 (S.D.N.Y. Mar. 5, 2015).

       Moreover, in response to Qualcomm’s declaratory judgment claim regarding the

Qualcomm ALA in the original action, Arm made clear that it would not provide verification or

support for Qualcomm’s unlicensed Nuvia-based products, alleging that “Arm has no obligation

to support Qualcomm’s further attempts to continue developing unlicensed technology originally

developed at Nuvia using Arm’s architecture,” and “Qualcomm’s ALA with Arm expressly

excludes any license to Arm technology that was not developed under that specific ALA.” (No.

22-cv-1146, D.I. 21 (“Arm’s Redacted Answer to Am. Countercl.”) at 2, Fung Decl., Ex. 2.) This

new action alleges breach of the same Qualcomm ALA based on Arm’s refusal to verify and

support the same unlicensed Nuvia-based technology. (Compl. ¶ 9.)

       Qualcomm’s request for leave to add substantially the same claims to the original action

further confirms that the claims in this new action are part of the same transaction or occurrence

at issue in the original action. This Court rejected Qualcomm’s attempt to add those claims in the

original action as untimely (due to months of knowing delay by Qualcomm). (No. 22-cv-1146,

D.I. 303 (“Redacted Mar. 6, 2024 Order”) Ex. A at 5, Fung Decl., Ex. 3.) Courts have repeatedly

held that denial of leave to add compulsory counterclaims in an earlier-filed action bars a later

attempt to assert those claims in a new action. See Goodman Mfg. Co. v. Carrier Corp., C.A. No.




                                                -2-
Case 1:24-cv-00490-MN          Document 19        Filed 06/20/24     Page 7 of 22 PageID #: 761




13-2014-SLR, 2014 WL 4954281, at *2 (D. Del. Sept. 23, 2014) (a party “may not circumvent

the court’s denial of its motion for leave to amend by filing a separate action for the same

claims”); JSM at Tingley, LLC v. Ford Motor Co., No. CIV.A. 11-448, 2011 WL 6934852, at

*14 (D.N.J. Dec. 30, 2011) (“Because Plaintiffs never brought their compulsory counterclaims in

a timely manner…Plaintiffs are barred from circumventing previous orders by the Court and

bringing those same claims in the present action.”). Qualcomm’s lack of diligence in asserting

compulsory counterclaims in the original action thus bars assertion of those same claims in this

new action.

II.      NATURE AND STAGE OF THE PROCEEDINGS AND FACTUAL
         BACKGROUND

         A.     Qualcomm Failed To Assert Its Claims At The Time They Arose, Well Prior
                To The Deadline For Amendment In The Original Action.

         Arm is a leading provider of microprocessor technology, licensing its architecture for the

design and manufacture of semiconductors by licensees. (No. 22-cv-1146, D.I. 1 (“Arm’s

Compl.”), ¶¶ 1-2, Fung Decl., Ex. 4.) Qualcomm is a major semiconductor manufacturer, and

has an architecture license agreement (“ALA”) with Arm. (Id. ¶ 26.) Nuvia, a 2019 startup

focused on designing semiconductors for the server market, similarly had an ALA with Arm,

which required Arm’s consent to any assignment of Nuvia’s ALA, including via acquisition. (Id.

¶ 20.)

         In 2021, Qualcomm purchased Nuvia for $1.4 billion. (Id. ¶ 28.) Because Arm did not

consent to the assignment of Nuvia’s ALA via the acquisition, Arm terminated Nuvia’s ALA in

2022. (Id. ¶¶ 36-37, 39.) The termination provisions of Nuvia’s ALA required Qualcomm and

Nuvia to stop using and destroy the technology developed under the Nuvia ALA. (Id. ¶ 3.) But

they did not do so. (Id.)




                                                 -3-
Case 1:24-cv-00490-MN        Document 19        Filed 06/20/24     Page 8 of 22 PageID #: 762




       Accordingly, on August 31, 2022, Arm filed a complaint alleging that Qualcomm and

Nuvia breached the termination provisions of the Nuvia ALA by failing to discontinue and

destroy technology developed under the now-terminated Nuvia ALA. (Id. ¶¶ 39-57.) As relief for

this breach, Arm seeks specific performance of the Nuvia ALA’s termination provisions,

requiring Qualcomm to discontinue and destroy its Nuvia-based technology, which is unlicensed

following termination of the Nuvia ALA. (Id.)

       On October 6, 2022, just over a month after Arm filed the original action, Qualcomm

sought verification by Arm of its latest Nuvia-based products under Qualcomm’s ALA. (Compl.

¶ 52.) Because Qualcomm’s Nuvia-based products were unlicensed under the Qualcomm ALA,

and instead subject to discontinuance and destruction under the termination provisions of the

Nuvia ALA, Arm informed Qualcomm on October 10, 2022, that it would not verify or support

the relevant Nuvia-based products. (Id.)

       Just over two weeks later, on October 26, 2022, Qualcomm served its answer and

amended counterclaim in the original action. Qualcomm did not assert a claim for breach of the

Qualcomm ALA based on Arm’s denial of verification and support, even though Qualcomm’s

cross-complaint in the original action sought a declaratory judgment regarding Qualcomm’s

rights under the Qualcomm ALA and an order “requiring Arm to comply with its obligations

under Qualcomm’s license agreements.” (Qualcomm’s Redacted Answer and Am. Countercl. ¶¶

258-259, Prayer for Relief.) Instead, on November 3, 2022, Qualcomm sent correspondence to

Arm alleging that Arm had breached the Qualcomm ALA by denying verification of

Qualcomm’s Nuvia-based technology. (Compl. ¶ 53.)

       On November 15, 2022, Arm filed its answer to Qualcomm’s counterclaims in the

original action. Arm’s answer, like its correspondence with Qualcomm, made clear that it would




                                                -4-
Case 1:24-cv-00490-MN          Document 19      Filed 06/20/24     Page 9 of 22 PageID #: 763




not provide verification or support for Qualcomm’s unlicensed Nuvia-based products, alleging

that the Qualcomm ALA limits “Arm’s verification, delivery, and support obligations, to chips

(1) based on the technology Arm delivered to Qualcomm under that ALA, (2) created at

Qualcomm, by Qualcomm engineers and Qualcomm subsidiaries during the period while those

entities were subsidiaries of Qualcomm, and (3) licensed subject to the terms of that ALA. None

of this is true of the Phoenix core or other designs developed by Nuvia engineers at Nuvia based

on the technology and license granted to Nuvia by Arm when Nuvia was a standalone company.”

(Arm’s Redacted Answer to Am. Countercl. at 2.)

          Even though Arm’s answer plainly put Qualcomm’s ALA-based claims at issue, and

even though the deadline for amendment was more than four months away, Qualcomm did not

amend to assert the claims at issue here. (Redacted Mar. 6, 2024 Order at 5) Instead, on

December 5, 2022, Qualcomm sent further correspondence indicating that it believed that Arm

was in breach of Qualcomm’s ALA. (Compl. ¶ 54.) One day later, on December 6, 2022, Arm

responded to Qualcomm’s letter and denied that Arm’s refusal to provide verification for

unlicensed Nuvia-based products was a breach of Qualcomm’s ALA. (Id. ¶¶ 56-60.) Arm

explained that Qualcomm “d[id] not have verification, delivery, or support rights under its ALA

applicable to Nuvia-based technologies.” (Id. ¶ 60.)

          Despite receiving unequivocal notice by December 2022 of Arm’s position, via Arm’s

pleadings and correspondence, Qualcomm did not amend to assert claims for breach of

section      of the Qualcomm ALA, even though there were more than four months remaining

before the April 28, 2023, deadline for amendment of pleadings in the original action. (No. 22-

cv-1146, D.I. 296 at 2 (“Arm’s Redacted Opp. to Deft’s Mot. to Amend”), Fung Decl. Ex. 5.)




                                               -5-
Case 1:24-cv-00490-MN          Document 19        Filed 06/20/24      Page 10 of 22 PageID #: 764




        B.      The Court Rejected Qualcomm’s Belated Attempt To Add Its Section
                Claims A Year Later In The Original Action.

        In February 2024, ten months after the deadline to amend pleadings, and more than a year

 after Qualcomm was on notice of the Qualcomm ALA issues via Arm’s pleadings and

 correspondence, Qualcomm sought to amend its counterclaims in the original action to include a

 claim for breach of the Qualcomm ALA based on Arm’s refusal to provide verification for

 Qualcomm’s unlicensed Nuvia-based technology. (No. 22-cv-1146, D.I. 279 (“Redacted Mot. to

 Amend Countercl.”) at 1-2, Fung Decl., Ex. 6.) Qualcomm’s proposed claims in the original

 action were nearly identical to those Qualcomm asserts here.

        More specifically, the facts Qualcomm alleged in its proposed amended cross-complaint

 and the complaint here are the same, including: (1) the timing of the correspondence between

 Qualcomm and Arm regarding Qualcomm’s request for verification and support for its

 Nuvia-based technology; (2) Arm’s refusal to provide verification and support for the unlicensed

 Nuvia-based technology; and (3) Qualcomm’s claim that it only discovered the basis for its

 claims through document discovery and deposition testimony in the original action. (Compare

 Redacted Mot. to Amend Countercl. Ex. 1 ¶¶ 274, 278, 280-293 with Compl. ¶¶ 10-14, 50-52,

 58-59, 61-69.) Further, the proposed claims in the original action and the claims here cite to the

 same provisions of Qualcomm’s ALA, and seek essentially the same relief. (Compare Mot. to

 Amend Countercl. Ex. 1 ¶ 272 with Compl. ¶ 48; Compare Mot. to Amend Countercl. Ex. 1 ¶¶

 299 (e), 302-305 with Compl. ¶¶ 78 (a), 81-84.)

        Arm opposed Qualcomm’s proposed amendments in the original action. Arm argued that

 Qualcomm’s delay in asserting its claims was improper and prejudicial, given Qualcomm’s

 knowledge of the basis of its claims for over a year, and the close of fact discovery in the original

 action months before Qualcomm sought leave to amend. (Arm’s Redacted Opp. to Deft’s Mot. to




                                                  -6-
Case 1:24-cv-00490-MN          Document 19        Filed 06/20/24      Page 11 of 22 PageID #: 765




 Amend at 3.)

         While Qualcomm claimed that it had discovered the underlying facts necessary to assert

 its proposed claims only at the end of discovery in the original action, Judge Hatcher rejected

 Qualcomm’s assertions, finding that “[t]he facts show otherwise.” Judge Hatcher noted that the

 basis for Qualcomm’s claims “was evident to Defendants in late 2022—well before the. . .

 deadline to amend.” (Redacted Mar. 6, 2024 Order at 4.) Judge Hatcher further noted that

 “Defendants possessed sufficient information to assert their …counterclaim before the April 28,

 2023 deadline.” (Id. at 5.) Judge Hatcher concluded that Qualcomm “did not act diligently,” and

 thus could not show good cause to amend under Rule 16(b)(4) as to its section         counterclaims.

 (Id.)

         Qualcomm did not object to the Magistrate Judge’s order, appeal the order to the District

 Court Judge, or otherwise attempt to dispute the Court’s findings regarding Qualcomm’s failure

 to diligently pursue its section   claims in the original action. On April 18, 2024, Qualcomm

 filed this new action, effectively restating the claims that were rejected as untimely in the

 original action.

 III.    LEGAL STANDARD

         Courts may properly determine on a motion to dismiss whether a claim is barred as a

 compulsory counterclaim that should have been brought in an earlier-filed action. See Crawl

 Space Door Sys., Inc. v. White & Williams, LLP, No. 23-2319, 2024 WL 1554062, at *2 (3d Cir.

 Apr. 10, 2024) (affirming grant of motion to dismiss compulsory counterclaims plaintiff failed to

 bring in earlier-filed action); Goodman Mfg., 2014 WL 4954281, at *2 (granting motion to

 dismiss compulsory counterclaims plaintiff failed to bring in earlier-filed action); TFII Legacy,

 LLC v. Lummus Corp., C.A. No. 19-1309-CFC-SRF, 2019 WL 6895944, at *4-5 (D. Del. Dec.




                                                  -7-
Case 1:24-cv-00490-MN          Document 19        Filed 06/20/24      Page 12 of 22 PageID #: 766




 18, 2019) (recommending dismissal of compulsory counterclaims that plaintiff failed to bring in

 earlier-filed action).

         In considering a motion to dismiss for failure to bring compulsory counterclaims in an

 original action, courts may take judicial notice of the relevant pleadings, court filings, and

 procedural rulings on which resolution of the motion turns. Roche v. Aetna, Inc., No. 1:22-cv-

 00607-NLH-EAP, 2023 WL 3173394, at *3 (D.N.J. May 1, 2023) (“Even in a Rule 12(b)(6)

 posture . . . a court may consider judicially noticeable facts.”); see also S. Cross Overseas

 Agencies, Inc. v. Wah Kwong Ship. Grp. Ltd., 181 F.3d 410, 413 (3d Cir. 1999).

 IV.     ARGUMENT

         A.      Courts Routinely Dismiss Compulsory Counterclaims A Party Failed To
                 Bring In An Earlier-Filed Action.

         Courts in the Third Circuit and elsewhere have repeatedly held that a party’s failure to

 bring compulsory counterclaims in an earlier-filed action will bar litigation of those claims in a

 new action. See Transamerica Occidental Life Ins. Co., 292 F.3d 384 at 393. 2 As the Third

 Circuit has explained, dismissal of claims a party should have brought in an earlier action

 “effectuate[s] the purpose of Rule 13(a) to prevent multiplicity of actions and to achieve

 resolution in a single lawsuit of all disputes arising out of common matters.” Id. (internal

 citations omitted).

         Treatises similarly confirm that a party’s failure to assert a compulsory counterclaim in


 2
   See also Insignia Disposal Servs., LLC v. Hrebenar, C.A. No. 23-1722, 2023 WL 6520501, at
 *9 (E.D. Pa. Oct. 4, 2023); Critical-Vac Filtration Corp. v. Minuteman Int'l, Inc., No. 99-CV-
 1115, 2000 WL 14654, at *4 (N.D.N.Y. Jan. 7, 2000), aff’d, 233 F.3d 697 (2d Cir. 2000); Avante
 Int'l Tech., Inc. v. Hart Intercivic, Inc., No. 08-cv-832 (GPM), 2009 WL 2431993, at *5 (S.D. Ill.
 July 31, 2009); Servian v. Health Data Scis. Corp., C.A. No. 92-2693, 1992 WL 174705, at *3
 (E.D. Pa. July 21, 1992); McNeil Nutritionals, LLC v. Sugar Ass’n, C.A. No. 05-69 GMS, 2006
 WL 8454231, at *1 (D. Del. Mar. 29, 2006); Morgan v. Scott, 83 F. Supp. 3d 616, 624 (D. Del.
 2015).



                                                  -8-
Case 1:24-cv-00490-MN          Document 19        Filed 06/20/24       Page 13 of 22 PageID #: 767




 an earlier-filed action bars the party from asserting that claim in a subsequent action, based on

 both the compulsory counterclaim doctrine and claim preclusion. See 6 Fed. Prac. & Proc. Civ.

 § 1409 (3d ed.) (“Perhaps the most important characteristic of a compulsory counterclaim is that

 it must be asserted in the pending case. A failure to do so will result in its being barred in any

 subsequent action, at least in the federal courts.”); 3 Moore’s Federal Practice - Civil § 13.10

 (2024) (“Claim preclusion bars subsequent suit on counterclaim if not pleaded”).

        “Compulsory” counterclaims include claims that “arise[ ] out of the transaction or

 occurrence that is the subject matter of the opposing party’s claim.” Fed. R. Civ. P. 13(a)(1)(A).

 The operative question in determining if a claim is a compulsory counterclaim is whether it

 “bears a logical relationship to an opposing party’s claim.” Transamerica Occidental Life Ins.

 Co., 292 F.3d 384 at 389 (quoting Xerox Corp. v. SCM Corp., 576 F.2d 1057, 1059 (3d Cir.

 1978)). “The concept of a ‘logical relationship’ has been viewed liberally to promote judicial

 economy.” Id. at 389–90.

        B.      Qualcomm’s Claims In This New Action Were Compulsory Counterclaims
                In The Original Action Between The Parties.

        Qualcomm’s claims in this new action arise out of the same transaction and occurrence

 as, and bear more than a logical relationship to, the claims in the original action.

        First, Qualcomm’s claims in the new action arise out of the same contract as Qualcomm’s

 claims in the original action—the Qualcomm ALA. In the original action, Qualcomm sought

 declaratory judgment that its “architected cores” are “licensed under Qualcomm’s ALA”

 (Qualcomm’s Redacted Answer and Am. Countercl. ¶ 259), and Arm sought declaratory

 judgment that Qualcomm’s use of the unlicensed Nuvia-technology was subject to the now-

 terminated Nuvia ALA, rather than the Qualcomm ALA. (Arm’s Compl. ¶ 79.) In this new

 action, Qualcomm’s claims are again based on the Qualcomm ALA, with the complaint




                                                  -9-
Case 1:24-cv-00490-MN           Document 19           Filed 06/20/24    Page 14 of 22 PageID #: 768




 repeatedly citing provisions of the Qualcomm ALA. (See, e.g., Compl. ¶¶ 48, 83.)

         “Courts have consistently found that counterclaims based on a contract are compulsory in

 actions relating to the same contract.” Skyline Steel, LLC v. Pilepro, LLC, No. 13-cv-8171

 (JMF), 2015 WL 999981, at *5 (S.D.N.Y. Mar. 5, 2015); Lenovo (United States) Inc. v.

 Interdigital Tech. Corp., C.A. No. 20-493-LPS, 2021 WL 1123101, at *8 (D. Del. Mar. 24,

 2021) (A “breach of contract claim, is logically related to [a] claim for a declaratory judgment

 that [a party] did not breach the same contract”) (emphasis in original); Amoco Oil Co. v.

 McMahon, No. 98-cv-1625, 1999 WL 116290, at *7 (E.D. Pa. Mar. 1, 1999) (“[W]hen the same

 contract serves as the basis for both the claims and the counterclaims, the logical relationship

 standard ... has been satisfied.”) (internal citations omitted). 3 Treatises similarly confirm that

 “[w]hen the same contract serves as the basis for both the claims and the counterclaims, the

 logical-relationship standard also has been satisfied[.]” § 1410.1 Compulsory Counterclaims—

 The Transaction or Occurrence Requirement: Illustrative Cases, 6 Fed. Prac. & Proc. Civ. §

 1410.1 (3d ed.). Accordingly, Qualcomm’s claims in this new action indisputably have a logical

 relationship to the claims in the original action.

         Second, Qualcomm’s claims in this new action involve the same underlying facts and

 contractual issues as the original action, as the pleadings in the original action make clear. There,

 Qualcomm sought a declaratory judgment regarding its rights under the Qualcomm ALA, and an

 order “requiring Arm to comply with its obligations under Qualcomm’s license agreements.”



 3
   See also Servian v. Health Data Scis. Corp., C.A. No. 92-2693, 1992 WL 174705, at *3 (E.D.
 Pa. July 21, 1992); Lance Int’l Ltd. v. Menominee Paper Co., No. 98-cv-2229, 1998 WL 464901,
 at *1 (E.D. Pa. Aug. 5, 1998); RPV, Ltd. as Tr. for Vill. Tr. v. Netsphere, Inc. 771 F. App’x 532,
 535 (5th Cir. 2019) (“The claims in this case revolve around the parties’ compliance with the
 same settlement agreement disputed in Netsphere I. As such, they are compulsory counterclaims
 under Federal Rule of Civil Procedure 13(a).”); Brooks v. Valley Day Sch., C.A. No. 14-5506,
 2015 WL 4770759 (E.D. Pa. Aug. 12, 2015.)



                                                  -10-
Case 1:24-cv-00490-MN          Document 19        Filed 06/20/24      Page 15 of 22 PageID #: 769




 (Qualcomm’s Redacted Answer and Am. Countercl., ¶¶ 258-259, Prayer for Relief.) In response,

 Arm alleged that “Arm has no obligation to support Qualcomm’s further attempts to continue

 developing unlicensed technology originally developed at Nuvia using Arm’s architecture,” and

 that “Qualcomm’s ALA with Arm expressly excludes any license to Arm technology that was

 not developed under that specific ALA.” (Arm’s Redacted Answer to Am. Countercl. at 2.) This

 is the very issue on which Qualcomm bases its breach of contract claim, alleging (erroneously)

 that Arm has failed to comply with its obligations under the Qualcomm ALA, an issue

 Qualcomm itself pleaded in the original action. 4 (See Compl. ¶ 83 (“ARM failed to fulfill its

 obligation under section     of the Qualcomm ALA because it intentionally withheld from

 Qualcomm certain ARM Technology …used for verification.”).) Accordingly, Qualcomm’s

 claims in this new action obviously were compulsory counterclaims in the original action.

 Hercules Inc. v. Dynamic Exp. Corp., 71 F.R.D. 101, 109 (S.D.N.Y. 1976) (concluding “that

 counterclaims one through four are compulsory counterclaims” because “[t]hey not only arise

 out of the same contract as plaintiffs’ claim for relief, but are based on the same incidents as give

 rise to that claim”).

         C.      Qualcomm Confirmed Its Claims Here Were Compulsory Counterclaims By
                 Trying To Bring Them In The Original Action.

         In the original action, Qualcomm sought leave to amend to add counterclaims that are

 substantially the same as the claims it seeks to assert in this new action. Both sets of claims turn



 4
   As set forth in Arm’s answer in the original case, Qualcomm’s claims are inconsistent with the
 terms of Qualcomm’s ALA. Among other things, Qualcomm’s ALA does not provide a license
 for the Nuvia-based technology, Arm does not have any verification obligations under the
 Qualcomm ALA with respect to the unlicensed Nuvia-based technology, and Qualcomm’s
 claims regarding Arm’s denial of “verification” for unlicensed Nuvia-based technology do not
 implicate the “delivery” provisions of section      (See Arm’s Redacted Answer to Am.
 Countercl. at 2.)



                                                 -11-
Case 1:24-cv-00490-MN          Document 19        Filed 06/20/24      Page 16 of 22 PageID #: 770




 on (1) Arm’s refusal to verify unlicensed Nuvia-based technology (compare Redacted Mot. to

 Amend Countercl. Ex. 1 ¶¶ 274 with Compl. ¶¶ 9, 11, 50-52, 58-59); and (2) Qualcomm’s

 allegation that Arm’s refusal to verify constitutes a breach of section    of the Qualcomm ALA

 (compare Redacted Mot. to Amend Countercl. Ex. 1 ¶¶ 274, 287 with Compl. ¶¶ 59, 65).

 Further, both seek essentially the same relief (compare Redacted Mot. to Amend Countercl. Ex.

 1 ¶ 299 (e), 302-305 with Compl. ¶¶ 78 (a), 81-84), including a request for: (1) declaratory

 judgment that Arm breached the Qualcomm ALA based on Arm’s refusal to verify unlicensed

 Nuvia-based technology (compare Redacted Mot. to Amend Countercl. Ex. 1 ¶ 299 (e) with

 Compl. ¶ 78 (a)); and (2) damages based on Arm’s purported breach of section          of the

 Qualcomm ALA (compare Redacted Mot. to Amend Countercl. Ex. 1 ¶¶ 291-293, 302-305 with

 Compl. ¶¶ 67-69, 81-84).

        By attempting to assert in the original action what are effectively the same claims it seeks

 to assert in this new action, Qualcomm confirmed that the claims in this new action arose out of

 the same transaction and occurrence as, and have a logical relationship to, the original action.

 While the Court rejected Qualcomm’s proposed amended counterclaims, it did so because

 “[Qualcomm] did not act diligently in seeking amendment,” could not “show good cause” as to

 why it did not timely assert the proposed counterclaims, and unduly delayed asserting its

 counterclaims. (Redacted Mar. 6, 2024 Order at 5.) In contrast, Judge Hatcher’s order did not

 suggest that the claims were permissive or did not arise out of the same transaction and

 occurrence at issue in the original action.

        D.      Qualcomm’s Failure To Assert Compulsory Counterclaims In The Original
                Action Is Not Excused By The Denial Of Leave To Amend.

        Numerous courts have held that the bar to asserting compulsory counterclaims in a later-

 filed action applies even if, as here, the party unsuccessfully sought to add them in an earlier-




                                                 -12-
Case 1:24-cv-00490-MN          Document 19        Filed 06/20/24      Page 17 of 22 PageID #: 771




 filed action. See Goodman Mfg. Co, 2014 WL 4954281, at *2; cf. Fingermates, Inc. v. Nailtiques

 Cosm. Corp., C.A. 95--3427-MLP, 1996 WL 901967, at *3 (D.N.J. Dec. 16, 1996) (confirming

 denial of leave to amend in an earlier action would bar asserting those claims in a new action);

 Perfect Plastics Indus., Inc. v. Cars & Concepts, Inc., 758 F. Supp. 1080, 1082 (W.D. Pa. 1991)

 (confirming denial of leave to amend in an earlier action would bar asserting those claims in a

 new action). As courts have noted, a party should not be permitted to “circumvent the court’s

 denial of its motion for leave to amend by filing a separate action for the same claims,”

 Goodman Mfg. Co, 2014 WL 4954281, at *2, and thereby “eviscerate the implications of Rule

 13(a),” JSM at Tingley, LLC v. Ford Motor Co., C.A. No. 11-448, 2011 WL 6934852, at *11,

 *14 (D.N.J. Dec. 30, 2011) (“Because Plaintiffs never brought their compulsory counterclaims in

 a timely manner in the Edgewood Action, Plaintiffs are barred from circumventing previous

 orders by the Court and bringing those same claims in the present action.”).

        Similarly, courts have held that the claim preclusion doctrines of collateral estoppel and

 res judicata bar an attempt to bring compulsory counterclaims in a new action following the

 denial of leave to amend, even if the original action remains pending. See Yeransian,2021 WL

 979604 at *6 (D. Del. Mar. 16, 2021). Justice is not served by repetitive litigation, and, as

 numerous courts have held, “denial of a motion to amend a complaint in one action is a final

 judgment on the merits barring the same complaint in a later action.” Id. at *5; see also, Benckini

 v. Upper Saucon Twp., C.A. No. 07-3580, 2008 WL 2050825, at *5 (E.D. Pa. May 13, 2008);

 Moose Mountain Mktg., Inc. v. Alpha Int’l, Inc., C.A. No. 03-4035-WGB, 2005 WL 3588491, at

 *2 (D.N.J. Dec. 29, 2005) (rejecting argument that compulsory counterclaim bar does not apply

 where original action is still pending, noting that “in Transamerica the Third Circuit affirmed the

 dismissal of a suit on the basis of Rule 13(a) while the action was pending in another




                                                 -13-
Case 1:24-cv-00490-MN          Document 19        Filed 06/20/24       Page 18 of 22 PageID #: 772




 jurisdiction”).

         Dismissal is particularly appropriate where a party has its own “voluntary actions and

 inactions” to blame for the required dismissal in a new action, and thus “it would not be

 manifestly unjust for this court to apply res judicata and the compulsory counterclaim bar.” See

 Linton v. Whitman, C.A. No. 08-00548-XR, 2009 WL 2060091, at *9 (W.D. Tex. July 9, 2009)

 (noting that dismissal was warranted where plaintiffs failed to ask the court in the original action

 to reconsider the denial of their claims, or to hold that the denial was without prejudice to

 asserting the claims in another suit); Sendi v. NCR Comten, Inc., 624 F. Supp. 1205, 1207 (E.D.

 Pa. 1986) (a plaintiff’s “proper recourse [is] to appeal from the denial of [its] motion to amend”

 not “file a second lawsuit based on the same facts”); Kim v. Sara Lee Bakery Grp., Inc., 412 F.

 Supp. 2d 929, 941 (N.D. Ill. 2006) (“If relief in the First Action is limited by a lack of diligence,

 or by a strategic, cost-benefit decision…that is not [the Defendant’s] fault.”). Here, Qualcomm

 was on notice regarding its section     claims in the fall of 2022 and certainly by no later than

 December 2022, but (1) did not seek leave to add its section       claims in the original action until

 nearly a year after the deadline for amendment; (2) did not object to or appeal the Magistrate

 Judge’s denial of leave to amend based on a finding that Qualcomm was untimely in seeking

 leave to assert the section    claims; and (3) did not seek a ruling expressly exempting the

 rejection of its proposed claims from the compulsory counterclaim doctrine, let alone obtain an

 express holding that Qualcomm could bring its untimely claims in a new action despite

 consistent authority to the contrary.

         As courts have explained, the compulsory counterclaim doctrine does not require “courts

 to weigh the equities,” or provide a “‘substantial prejudice’ exception” to dismissal. Gestamp

 Chattanooga, 2023 WL 4707356, at *4 (E.D. Tenn. July 24, 2023). Instead, “the prejudice from




                                                 -14-
Case 1:24-cv-00490-MN          Document 19        Filed 06/20/24      Page 19 of 22 PageID #: 773




 being unable to prosecute” compulsory counterclaims in a new action “is a feature of Rule 13(a),

 not a bug.” Id. Any prejudice that Qualcomm might face in being denied the ability to bring

 untimely (and baseless) claims “is of its own doing and must give way to the central purpose of

 Rule 13, that is, to promote the judiciary’s interest in avoiding competing rulings and jury trials

 on the same legal and factual issues.” Id.

 V.     CONCLUSION

        For the reasons discussed above, the Court should dismiss this action with prejudice.




                                                 -15-
Case 1:24-cv-00490-MN   Document 19   Filed 06/20/24    Page 20 of 22 PageID #: 774




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                                      -16-
Case 1:24-cv-00490-MN        Document 19       Filed 06/20/24      Page 21 of 22 PageID #: 775




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Case 1:24-cv-00490-MN   Document 19   Filed 06/20/24     Page 22 of 22 PageID #: 776




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